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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION



RESTORE ROBOTICS LLC, et al.,

                          Plaintiffs,

      v.                                     Civil Case No. 5:19-cv-55-TKW-MJF

INTUITIVE SURGICAL, INC.,

                          Defendant.


              ORDER AUTHORIZING FILING UNDER SEAL

      Upon due consideration of Plaintiff’s motion to file its motion to compel

production under seal and a redacted version on the public docket, it is

      ORDERED that the motion is GRANTED, and Plaintiff may file its

response to the motion to reopen discovery under seal and a redacted version on

the public docket.

      DONE and ORDERED this 5th day of October, 2022.

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                                        T. KENT WETHERELL, II

                                        UNITED STATES DISTRICT JUDGE
